
PER CURIAM.
The respondent, Elmer O. Roberts, petitioned this court for appellate review of the judgment of the Board of Governors. The Integration Rule, Article XI, subd. 5(e), 31 F.S.A.
By its judgment, the Board of Governors of the Florida Bar disbarred the respondent and petitioned this court to assess actual costs in the amount of $278.78 against respondent.
We have carefully reviewed the record in this cause and find that the respondent has failed to establish that the judgment is erroneous, unlawful, or unjustified.
The judgment of the Board of Governors of the Florida Bar is approved, the name of the respondent, Elmer O. Roberts, is hereby stricken from the rolls of the Florida Bar, and costs of $278.78 are hereby assessed against the respondent, Elmer O. Roberts, for which let execution issue.
It is so ordered.
TERRELL, C. J., and THOMAS, HOB-SON, THORNAL and O’CONNELL, JJ„ concur.
